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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

 KRISTY BOROWSKI,                           )
                                            )       Civil Action No. CV421-252
      Plaintiff,                            )
                                            )
 v.                                         )
                                            )       JURY TRIAL DEMANDED
 THE SAVANNAH COLLEGE OF                    )
 ART AND DESIGN, INC.,                      )
                                            )
      Defendant.                            )


                         COMPLAINT FOR DAMAGES

        Now comes Plaintiff Kristy Borowski ("Plaintiff" or "Ms. Borowski"), by

and through counsel, and files this her Complaint for Damages against Defendant

The Savannah College of Art and Design, Inc. (“Defendant" or "SCAD"), and

shows this court as follows:

                         PRELIMINARY STATEMENT

          1. Plaintiff seeks a remedy for Defendant’s interference with Plaintiff’s

rights to take a leave of absence from employment and subsequent retaliatory and

unlawful termination of employment in violation of the Family and Medical Leave

Act of 1993 ("FMLA"), 29 U.S.C. §§ 2601 et seq. This is also an action brought to

remedy discrimination on the basis of disability in the terms, conditions and

privileges of employment in violation of the Americans With Disabilities Act of


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1990, as amended, 42 U.S.C. §12101 et seq (“ADAA”) for disability

discrimination and for disability discrimination under 42 U.S.C. §12203(b) of the

ADA which prohibits interference, coercion or intimidation of an individual for

exercising rights under the ADA.

                         JURISDICTION AND VENUE

        2. This Court possesses subject matter jurisdiction over Plaintiff's claims

because they arise under the laws of the United States. 28 U.S.C. § 1331; 29

U.S.C. § 1337; 29 U.S.C. § 2617; 42 U.S.C. § 12117(a); 29 U.S.C. § 2201; and 29

U.S.C. § 2202. Injunctive and declaratory relief and damages are sought pursuant

to 42 U.S.C. § 2000e-5(f)-(g), along with monetary relief.

        3. Venue is proper within this District because the unlawful practices

complained of herein occurred within the Southern District of Georgia.

Accordingly, venue lies in the United States District Court for the Southern

District of Georgia under 28 U.S.C. § 1391(b).

        4.Plaintiff filed a charge of discrimination on the basis of disability

discrimination against Defendant with the Equal Employment Opportunity

Commission ("EEOC") on September 9, 2020. The EEOC notified Plaintiff of her

right to institute this action by issuance of a "Notice of Right to Sue", which was

mailed to Plaintiff on June 14, 2021 (attached as Exhibit “1”).

        5. Plaintiff has complied fully with all administrative prerequisites.



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                                    THE PARTIES

         6. At all times relevant, Plaintiff was a citizen of the United States and a

resident of Chatham County, Georgia.

         7. Plaintiff is an individual formerly employed by Defendant and is

therefore an employee as defined within the meaning of the FMLA, working more

than 1250 hours in the twelve (12) months preceding her termination and

preceding her leave request.

         8. Plaintiff is a member of a protected group and had a disability,

perceived disability, or record of having a disability as that term is defined under

the ADAA. Plaintiff submits herself to the jurisdiction of this Court.

         9. Defendant is a domestic nonprofit corporation licensed to do business

in Georgia, and at all times material hereto has conducted business within this

district and is subject to the jurisdiction of this court.

         10. Defendant is an employer under the applicable ADAA statutes and

does have and has had as many as fifteen (15) employees at any time within the

current or preceding calendar year relevant to this matter under the relevant

statutory provisions. 42 U.S.C. § 12111(5).

         11. Defendant may be served with process by delivering a copy of the

Summons and Complaint to its Registered Agent, Hannah Yi Flower, 1600

Peachtree Street NW, Atlanta, GA, 30309-2403.


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                                      FACTS
        12. Plaintiff was hired by SCAD on or about October 21, 2013, as a
Financial Aid Analyst.
        13.Plaintiff at all times was well qualified for the position she held at the
time she was terminated.
        14.Prior to requesting the leave under the FMLA and accommodation(s)
under the ADAA, Plaintiff never received a formal write up, a written warning,
and never received an improvement plan during her entire employment.
        15.In the summer/fall of 2019, Plaintiff received an Employee
Performance Evaluation and it was good.
        16.The average score for Employee Performance Evaluations for the
Financial Aid Processing Team is between a 3 and a 4 on a scale of 1-5.
        17.Around this same time, Plaintiff had a medical episode which
substantially limited her major life activities and bodily functions, including but
not limited to eating, sleeping, thinking, concentrating, and interacting with others.
        18.Plaintiff’s medications were adjusted following the medical episode
and Plaintiff made Defendant aware of the situation in case Plaintiff needed an
accommodation (to leave early, come in late, or miss work).
        19.Plaintiff offered medical documentation to document her serious health
condition and disability and was told by her supervisor that “it’s not necessary.”
        20.Additionally, immediately after making her supervisor aware of the
flare up of her disability and serious health condition, Plaintiff met with
representatives of SCAD Benefits in SCAD’s human resources (“HR”) office.


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        21.Plaintiff felt that it was important to alert HR, in addition to her
supervisor, for several interrelated reasons. First, this was the first occasion during
her employment at SCAD that an episode was lasting more than a few days.
Second, this was the first episode that was substantially limiting her major life
activities and bodily functions. Lastly, she was unsure how long of a duration the
episode would last and what leave or accommodations may be available.
        22.During her meeting with HR representatives, Plaintiff was advised that
intermittent Family and Medical Leave Act (“FMLA”) was not available because
Plaintiff’s need for the leave was not on a set timetable or schedule and was only
available if she was required to miss every recurring Tuesday for example.
        23.Plaintiff was informed by Defendant that since neither she, nor her
medical provider, could predict when an episode would occur, or what
accommodations, if any, were needed, the discussion ended without FMLA leave
being provided and without an accommodation being approved.
        24.On or about May 30, 2020, Plaintiff had an episode that required
medical intervention.
        25.Plaintiff was able to perform the essential functions of her position
with or without accommodation.
        26.Thereafter, on June 1, 2020, Plaintiff immediately communicated with
Defendant for guidance regarding FMLA leave and potential accommodations
regarding her serious health condition and disability.
        27.Plaintiff was out of work from Monday June 1, 2020 to Friday June 5,
2020 as a result of the flare up of her disability and serious health condition.
        28.Plaintiff returned to work on Monday June 8, 2020.
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        29.Plaintiff again reached out to HR for guidance and was again told by
James Fitzgibbons that Defendant did not need any further documentation
regarding her disability and serious health condition.
        30.Thereafter, the following day on Tuesday June 9, 2020, Plaintiff
received a communication from Defendant that they would review her
accommodation request.
        31.Also on Tuesday June 9, 2020, Plaintiff was informed for the first time
that she needed documentation from her physician for the accommodation.
        32.Plaintiff provided the requested documentation from her physician.
        33.One (1) week later, on June 16, 2020, Plaintiff suffered an adverse
employment action when she was terminated.
        34.Plaintiff was told that that her performance for the past year had been
unacceptable and she was terminated as of that moment.
        35.At the time of her termination, neither Plaintiff’s FMLA leave, nor
Plaintiff’s accommodation request were approved.
        36.Defendant’s supervisor exhibited animus toward disabled workers.
        37.During Ms. Borowski’s tenure at SCAD, she witnessed her supervisor
exhibit a pattern of behavior exemplifying her prejudice against people with
disabilities. For instance, during the interview process for an open position in the
financial aid office, Plaintiff’s supervisor stated to Plaintiff and others in the office
on the Financial Aid Processing Team that even though the candidate had the
necessary skills and experience, that she didn’t offer her the job after the interview
because the candidate had a “gimpy” hand.


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        38.Plaintiff’s supervisor proceeded to find the applicant’s Facebook
account and pulled it up to show pictures and ridicule her.
        39.Similarly, Plaintiff’s supervisor disclosed to the Financial Aid
Processing Team, that another member of the Financial Aid Technical Team and
Plaintiff’s coworker, was diagnosed with a disability and serious health condition
and that the coworker frequently made “ridiculous” accommodation requests.
        40.Plaintiff’s supervisor again openly and unapologetically mocked
Plaintiff’s disabled coworker and the legally required accommodation process in
front of Plaintiff and the rest of the Financial Aid Processing Team.
        41.Defendant attempts to provide legitimate reasons for the termination,
which are entirely pretextual.
        42.Other similarly situated employees were treated dissimilarly.
        43.The reason stated by Defendant, performance, is pretextual.
        44.Defendant alleges that Plaintiff was not performing her job duties from
approximately April 1, 2020 through May 26, 2020 (“time period”).
        45.During the time period, Plaintiff was enrolled in a professional
development course (the “Course”) that required an inordinate amount of time.
        46.The Course was in a subject outside of Plaintiff’s general or job
specific course area and was an intensive 8-week course that started in March
2020 and culminated with the final examination on April 27, 2020.
        47.Plaintiff reminded her supervisor on or about April 6th, 2020 that she
had to work on the Course as much as possible.




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        48.Besides Plaintiff’s daily work responsibilities, she had several weeks
of the Course to catch up on before the end of the Course due to the beginning of
spring quarter workload.
        49.March and April are the beginning of the Financial Aid office’s busiest
time of the year and lasts through mid-August.
        50.Spring quarter 2020 started March 30th. The first week of each quarter
is busy in the Financial Aid office as the Financial Aid Processing Team is
processing discrepancy reports which are manually updated. The updating is done
line by line for each type of award for each quarter in which the student is
enrolled. It is very time consuming and very easy to make a mistake.
        51.The summer extension report is a list of everyone that has registered
for summer classes (at the time the report has run) and needs to be awarded
summer aid. Like discrepancy reports each line must be added manually. It is also
very time consuming.
        52.On April 20, 2020 the Financial Aid Processing Team were given their
first summer extension report.
        53.The week of April 20th was the last week of Plaintiff’s Course and she
had to finish all the course work and pass the quizzes and case load studies, or she
could not be able to take the Certification Examination.
        54.With the approval of her supervisor, Plaintiff focused on finishing the
Course, and she did.
        55.According to her supervisor, Plaintiff’s work priorities were, current
quarter, summer quarter, fall/new aid year.


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        56.The last day to complete the Course to test for the Certification
Examination was April 27, 2020.
        57.Plaintiff’s supervisor acknowledged this and knew that Plaintiff would
be spending time working on the Course.
        58.In addition to attending the Course during this time period, Plaintiff
was performing her own workload which was last names A-B (a lot of people) and
she was also working another coworker’s workload (which is believed to be N-R)
while she was on bereavement leave from May 7, 2020 to May 26, 2020.
        59.On May 21, 2020, Plaintiff sent a message to her supervisor regarding
the huge workload.
        60.Plaintiff’s supervisor responded and said not to worry about it that
“everyone is behind.”
        61.As Plaintiff’s supervisor confirmed, during this time period, the entire
Financial Aid Processing Team was behind schedule, even though they only had
their own workload, and even though they were not enrolled in the Course at the
same time.
        62.on June 16, 2020, Plaintiff was terminated.
        63.Defendant interfered with Plaintiff's FMLA and ADAA rights and
retaliated against Plaintiff based on her notice of intent to take FMLA leave.
        64.Plaintiff requested accommodation(s), Defendant knew and suspected
that she had a disability, a perceived disability, or a record of having a disability
and required accommodation(s) for said disability. However, instead of engaging
in the interactive process with Plaintiff and providing accommodation(s),
Defendant provided pretextual reasons and terminated her.
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                          CLAIMS FOR RELIEF
                      COUNT I – FMLA INTERFERENCE

        65.Plaintiff realleges the preceding paragraphs as if set forth fully herein.

        66.Defendant interfered with Plaintiff’s use of her FMLA leave based on

her notice of intent to take FMLA leave.

        67.Defendant failed to grant leave to Plaintiff. Said failure to grant leave

to Plaintiff was illegal interference.

        68.In this case, Defendant’s failure to inquire further as to the need for

leave was illegal interference under the FMLA.

        69.After notice has been given, the regulations obligate employers to, “in

all cases,” inquire further of the employee to obtain necessary details of leave to

be taken. 29 C.F.R. § 825.305(c).

        70.Here, Defendant was on notice that Plaintiff required FMLA leave.

        71.Despite being aware of Plaintiff's need for leave, Defendant did not

request further information. Defendant interfered with Plaintiff’s rights by

terminating her during her requested FMLA leave period and/or by failing to

inquire further regarding her request for leave.

        72.Plaintiff would have taken available FMLA leave had Defendant not

engaged in the above referenced conduct.




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        73.Defendant’s actions as set forth above constituted interference under

the FMLA and that said conduct of Defendant is actionable pursuant to 29 U.S.C.

Sections 2615 and 2617. Defendant’s actions were willful.

        74.As a proximate result of the acts of Defendant, Plaintiff has suffered

the loss of her job position including back pay, future pay, and lost fringe benefits

and pension benefits. By virtue of the willful violation of the act, Plaintiff is

entitled to liquidated damages. Plaintiff has also been forced to incur court costs

and attorney’s fees.

                       COUNT II – FMLA RETALIATION

        75.Plaintiff realleges the preceding paragraphs as if set forth fully herein.

        76.Defendant willfully and unlawfully discharged Plaintiff and Plaintiff

states that Defendant’s actions in terminating her employment constituted

interference, discrimination and retaliation against Plaintiff because of her

exercising her rights provided for under the FMLA. Said conduct of Defendant is

actionable pursuant to 29 U.S.C. Sections 2615 and 2617.

        77.The proffered reasons for Plaintiff’s termination are false and

pretextual.

        78.Plaintiff was well qualified for the position she held and the

termination of Plaintiff violated the FMLA.




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        79.As a proximate result of the acts of Defendant, Plaintiff has suffered

the loss of her job position including back pay, future pay, and lost fringe benefits

and pension benefits. By virtue of the willful violation of the act, Plaintiff is

entitled to liquidated damages. Plaintiff has also been forced to incur court costs

and attorney's fees.

               COUNT III – DISABILITY DISCRIMINTATION
                 IN VIOLATION OF ADA, AS AMENDED

        80.Plaintiff realleges the preceding paragraphs as if set forth fully herein.

        81.Plaintiff’s physical impairment is a “disability” within the meaning of

the ADAA because it limited one or more major life activities, including but not

limited to eating, sleeping, thinking, concentrating, and interacting with others,

resulting in Plaintiff being disabled.

        82.Defendant was aware of Plaintiff’s disability.

        83.At all times relevant to this action, Plaintiff was a qualified individual

with a record of or known or perceived disability as defined in the ADAA.

        84.Plaintiff was able to perform all essential functions of her job with or

without an accommodation.

        85.Defendant regarded Plaintiff as having a disability such that she is a

person with a disability within the meaning of the ADAA.

        86.Plaintiff requested accommodation(s), including leave.



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        87.Defendant failed to engage in any interactive process with Plaintiff’s

request for leave thereby failing to accommodate her reasonable request for

accommodation(s), even though to do so would not impose an undue hardship.

        88.By refusing to accommodate Plaintiff, Defendant violated the ADAA.

        89.Defendant discriminatorily terminated Plaintiff’s employment because

of her disability, perceived disability, or record of having a disability and said

actions violate the ADAA.

        90.Plaintiff’s disability and/or need for reasonable accommodation(s)

were determinative factors in Defendant’s decision to terminate Plaintiff.

        91.Defendant treated employees outside Plaintiff’s protected class

differently.

        92.Defendant’s actions in subjecting Plaintiff to different terms and

conditions of employment constitutes unlawful discrimination under the ADAA.

        93.Although Defendant purports to provide legitimate non-discriminatory

reasons for the termination, the reasons are a pre-text for disability discrimination.

        94.Defendant has willfully and wantonly disregarded Plaintiff’s rights,

and Defendant’s discrimination against Plaintiff was undertaken in bad faith.

        95.The effect of the conduct complained of herein has been to deprive

Plaintiff of equal employment opportunity and has otherwise adversely affected

her status as an employee because of her disability.



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        96.As a result of Defendant’s discriminatory actions against Plaintiff, she

has suffered lost compensation and benefits and emotional distress.

        97.Pursuant to the ADAA, Plaintiff is entitled to damages including but

not limited to back pay and lost benefits, reinstatement, compensatory damages,

equitable relief, attorneys’ fees, costs of litigation and all other relief recoverable

under the ADAA.

         COUNT IV – DISABILITY DISCRIMINTATION UNDER
     42 U.S.C. §12203(b) FOR INTERFERENCE WITH ADA RIGHTS

        98.By Defendant’s actions as set forth above, Defendant has interfered

with Plaintiff in exercising or because she exercised her right to request reasonable

accommodations for her disabilities, including intermittent leave.

        99.Plaintiff had a good faith belief that she was disabled and entitled to

accommodations and Plaintiff was entitled to rights under the ADA.

        100.Defendant coerced, intimidated, threatened and interfered with

Plaintiff in the exercise of her right to reasonable accommodations, or on account

of her having exercised her right to request accommodation under.

        101.Defendant’s actions violated 42 U.S.C. §12203(b) of the ADA which

prohibits interference, coercion or intimidation of an individual for exercising

rights under the ADA.

        102.Defendant acted negligently or with reckless indifference to

Plaintiff’s rights by the conduct outlined above, despite the ADA’s clear

prohibition on interfering with, coercing, threatening or intimidating employees
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for exercising their right to reasonable accommodation or for protesting

discrimination on the basis of disability.

        103.These actions by Defendant’s actions have caused, continue to cause,

and will cause Plaintiff to suffer damages for emotional distress, mental anguish,

loss of enjoyment of life, and other non-pecuniary losses.

        104.As a direct and proximate result of Defendant’s interference with her

rights, Plaintiff has suffered out of pocket losses and has been deprived of her

profession, livelihood and job-related economic benefits, including income in the

form of wages and other job related benefits, including health insurance, disability

insurance, and life insurance benefits.

        105.Moreover, Plaintiff is entitled to be reinstated to employment by

Defendant and, if reinstatement is not feasible under the circumstances, Plaintiff is

entitled to an award of damages for future lost wages and benefits of employment.

                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that this Honorable Court:

        A. General damages for mental and emotional suffering;

        B. Punitive     damages     based    on     Defendant’s   willful,   malicious,

intentional, and deliberate acts, including ratification, condonation and approval;

        C. Special damages for lost wages and benefits and prejudgment interest;

        D. An amount of liquidated damages equal to her damages;

        E. Reasonable attorney's fees and expenses of litigation;

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        F. Trial by jury as to all issues;

        G. Prejudgment interest at the rate allowed by law;

        H. Declaratory relief to the effect Defendant violated Plaintiff’s rights;

        I. Injunctive relief of reinstatement, or front pay in lieu thereof, and

prohibiting Defendant from further unlawful conduct of the type described herein;

        J. All other relief to which she may be entitled.

            Respectfully submitted the 9th day of September, 2021.

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